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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:04CR206
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
CHRISTIA MACE, JOHN                          )
GRIEGO, CARLOS                               )
CARREON, THOMAS ROMERO                       )

              Defendants.

       The government has filed a motions for reduction of sentence pursuant to Federal

Rule of Criminal Procedure 35(b) (Filing Nos. 323, 322, 321 & 324).

       IT IS ORDERED:

       1.     Counsel for the Defendants shall contact the Defendant and then inform Mr.

Champion (402-661-7377) if the Defendants will appear, waiver their appearance or

participate by phone. If the Defendant will participate by phone counsel shall provide the

phone number to the court;

       2.     Counsel for the Defendant, if previously appointed pursuant to the Criminal

Justice Act (“CJA”), is reappointed to represent the Defendant for purposes of the Rule

35(b) motion. If retained, counsel for the Defendant remains as counsel for the Defendant

until the Rule 35(b) motion is resolved or until counsel is given leave to withdraw;

       3.     The Federal Public Defender shall provide CJA counsel with a new voucher;

       4.     The Clerk of the Court shall provide a copy of this order to counsel for the

government, counsel for the Defendant, and the Federal Public Defender.

       DATED this 30th day of June, 2005.

                                          BY THE COURT:

                                           s/ Laurie Smith Camp
                                          United States District Judge
